Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1193 Filed 07/25/06 Page 1 of 26




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES,

                     Plaintiff(s),               CASE NUMBER: 04-80372
                                                 HONORABLE VICTORIA A. ROBERTS

 v.

 CARL MARLINGA,

                 Defendant(s).
 ________________________________/

                       ORDER ON DEFENDANT’S MOTION
                 TO DISMISS SECOND SUPERCEDING INDICTMENT


 I.     INTRODUCTION

        This matter is before the Court on Defendant Carl Marlinga’s Motion to Dismiss

 the Second Superseding Indictment. The matter was referred to Magistrate Judge

 Donald A. Scheer for a Report and Recommendation, pursuant to 28 U.S.C.

 §636(b)(1)(B). Judge Scheer recommends that Defendant’s motion be GRANTED IN

 PART and DENIED IN PART. The Court ADOPTS the Report and Recommendation

 except with regard to the Magistrate’s conclusion on Count II. The Court dismisses

 Count II.

 II.    BACKGROUND

        Defendant is the former Macomb County Prosecuting Attorney. In a six-count

 Second Superceding Indictment, he is charged with bribery (Counts I and III), mail fraud

 (Count II), wire fraud (Count IV), false statement to an agency of the United States


                                             1
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1194 Filed 07/25/06 Page 2 of 26




 (Count V), and exceeding limitations on contributions, procuring, commanding and

 counseling (Count VI). The charges against him stem from alleged campaign

 contribution improprieties during his unsuccessful bid in 2002 for election to the United

 States House of Representatives. A full summary of the allegations against Defendant

 were set out in detail in the Court’s prior orders and are only restated here to the extent

 necessary to address Defendant’s motion. See Opinion and Order Regarding Motions

 to Dismiss, February 28, 2005.

        Defendant requests dismissal of each Count of the Second Superceding

 Indictment. Magistrate Scheer recommends that the Court deny Defendant’s motion on

 Counts I, III, IV, V and VI, but that it grant Defendant’s motion in part on Count II by

 striking certain language in paragraphs 3, 6 and 8 of the Second Superceding

 Indictment. Defendant filed timely objections to Magistrate Sheer’s recommendation. A

 hearing was held on the objections on July 24, 2006.

 III.   ANALYSIS

        A.       COUNTS I AND III--BRIBERY IN VIOLATION OF 18 U.S.C. §666

        18 U.S.C. §666 states in relevant part that:

             (a) Whoever, if the circumstance described in subsection (b) of this
             section exists--

             (1) being an agent of an organization, or of a State, local, or Indian
             tribal government, or any agency thereof--
                                                ***
                 (B) corruptly solicits or demands for the benefit of any person,
                 or accepts or agrees to accept, anything of value from any
                 person, intending to be influenced or rewarded in connection
                 with any business, transaction, or series of transactions of such
                 organization, government, or agency involving any thing of
                 value of $5,000 or more;


                                                2
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1195 Filed 07/25/06 Page 3 of 26



                                            ***
          shall be fined under this title, imprisoned not more than 10 years, or
          both.


          (b) The circumstance referred to in subsection (a) of this section is
          that the organization, government, or agency receives, in any one
          year period, benefits in excess of $10,000 under a Federal program
          involving a grant, contract, subsidy, loan, guarantee, insurance, or
          other form of Federal assistance.


        In Counts I and III, the Government alleges that Defendant violated §666 by

 accepting, and agreeing to accept, contributions and promises of fundraising efforts on

 his behalf in exchange for favorable official acts by Defendant in two Macomb County

 Circuit Court criminal cases--People v Moldowan and People v Hulet. The Government

 asserts that the “business, transactions or series of transactions” upon which each

 count is based are Defendant’s alleged acts in the criminal cases. However, Defendant

 argues that: 1) criminal prosecutions are not “business, transactions or series of

 transactions” within the meaning of the statute, because they are not the kind of

 business affairs contemplated by the statute, and 2) the Government cannot establish

 that his alleged acts had a value of at least $5,000 because the value of criminal

 prosecutions is either unquantifiable or speculative. Magistrate Scheer recommends

 that the Court reject each argument.

               i.     Scope of the Statute

        Defendant points out that the terms “business” and “transaction” are not defined

 in the statute and, therefore, must be given their “ordinary and natural” meaning. See

 Limited, Inc. v C.I.R., 286 F.3d 324, 332 (6th Cir. 2002)(“When the text of a statute



                                              3
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1196 Filed 07/25/06 Page 4 of 26




 contains an undefined term, that term receives its ordinary and natural meaning.”). And,

 Defendant argues that those terms as commonly defined refer strictly to commercial

 relations or dealings. For instance, Defendant cites the American Heritage Dictionary’s

 definition of “transaction” as “[s]omething transacted, especially a business agreement

 or exchange.” The American Heritage® Dictionary of the English Language (4th ed.

 2000).

          Defendant further asserts that “case law generally recognizes that the term

 ‘business’ connotes a commercial enterprise.” Def. Motion at p. 5. He bases this

 assertion on the Supreme Court’s statement in Hartford Fire Ins. Co. v California, 509

 U.S. 764, 781 (1993), that the term “is most naturally read to refer to ‘[m]ercantile

 transactions; buying and selling; [and] traffic.’” (citation omitted). Defendant contends

 that this commonly understood meaning is demonstrated by the fact that the

 Government’s use of the term (as applying to noncommercial matters) is recognized in

 Black’s Law Dictionary as merely an extension of the core meaning of the word:

            business. 1. A commercial enterprise carried on for profit; a particular
            occupation or employment habitually engaged in for livelihood or
            gain. 2. Commercial enterprises <business and academia often
            have congruent aims>. 3. Commercial transactions <the company
            has never done business in Louisiana>. . . . 4. By extension,
            transactions or matters of a noncommercial nature <the courts’
            criminal business occasionally overshadows its civil business>.
            5. Parlimentary Law. The matters that come before a deliberative
            assembly for its consideration and action, or for its information with a
            view to possible action in the future. In senses 2,3 and 4, the word is
            used in a collective meaning.


 Black’s Law Dictionary 211 (8th ed. 2004)(first emphasis added). When this extended

 definition is employed, Defendant says that one cannot say that the term is being used

                                               4
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1197 Filed 07/25/06 Page 5 of 26




 in accordance with its ordinary and natural meaning. Consequently, Defendant argues

 that it would be inappropriate to interpret §666 as including the extended definition.

        Defendant also contends that the legislative history and purpose of the statute

 suggest that the drafters intended that it only be applied to commercial endeavors of

 governmental entities. In support, he cites a report of the Senate Judiciary Committee

 discussing §666's proposed enactment:

          [The section was] designed to create new offenses to augment the
          ability of the United States to vindicate significant acts of theft, fraud,
          and bribery involving Federal monies that are disbursed to private
          organizations or State and local governments pursuant to a Federal
          program.


 Def. Motion at p. 6 (quoting S. Rep. No. 225, 98th Cong., 2d Sess. 369 (1984), reprinted

 in 1984 U.S.C.C.A.N. 3510). Additionally, the Ninth Circuit in United States v Cabera,

 328 F.3d 506, 508 (9th Cir. 2003), cert. den., 541 U.S. 1064 (2004), described §666 as

 “a broad statute designed to protect the financial integrity of programs receiving federal

 funding.” (emphasis added).

        In contrast to the commercial connotation that Defendant contends should be

 given to the terms “business” and “transaction,” Defendant argues that prosecution of

 criminal cases is noncommercial in nature. Defendant says that:

          While the prosecution of criminal cases may be the work of a
          prosecutor’s office, it is not, other than in a colloquial sense, or “by
          extension,” its “business.” Its “business,” rather, consists of the
          range of commercial endeavors which allow the office to do its work -
          contracting for a workplace, for employees, for equipment, supplies,
          and other services, and the like.


 Def. Motion at p. 7. Defendant argues that a broad interpretation of “business” and

                                               5
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1198 Filed 07/25/06 Page 6 of 26




 “transaction” to include criminal prosecutions would improperly expand federal power

 beyond the bounds intended:

               [T]he federal nexus identified by Congress - and the constitutional
               provision under which the legislation sounds - is in regard to the
               expenditure of funds and the “transaction” of “business.” To extend
               the reading or application of the statute to noncommercial
               “transactions,” official acts which cannot be fairly characterized as
               the doing of commercial “business,” would improperly expand the
               reach of the statute, and extend federal power beyond its intended
               bounds.


 Id at p. 8.

        The Magistrate rejects Defendant’s arguments on two primary grounds. The

 Magistrate asserts that 1) Defendant’s reliance upon Hartford is misplaced, and 2) there

 is support for a broad interpretation of “business” which encompasses the prosecution

 of criminal cases.

        The Magistrate points out that Hartford interpreted the term “business” only as it

 was used in the phrase “the business of insurance” in Section 2(b) of the McCarren-

 Ferguson Act, 15 U.S.C. §1012(a). Indeed, the Hartford Court stated that, “‘business’

 as used in §2(b) is most naturally read to refer to ‘[m]ercantile transactions; buying and

 selling; [and] traffic.’” (emphasis added, citation omitted). In light of the narrow context

 in which the Hartford Court interpreted the term, the Magistrate finds that it is unlikely

 that the Court intended that its interpretation would apply in all statutory contexts. This

 Court agrees that there is no basis for the broad application of Hartford advocated by

 Defendant.

        The Magistrate next asserts that both the first and fourth definitions of “business”


                                                 6
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1199 Filed 07/25/06 Page 7 of 26




 set forth in Black’s Law Dictionary support a broad interpretation of the term to include

 criminal prosecutions. The first definition includes “a particular occupation or

 employment habitually engaged in for livelihood or gain.” Black’s Law Dictionary at 211.

 The Magistrate contends that the prosecution of criminal cases by an elected county

 prosecutor indisputably constitutes employment habitually engaged in for livelihood or

 gain. Therefore, the Magistrate reasons that the remuneration a prosecutor receives for

 his work confers a sufficiently commercial character to such work, and that it is “ordinary

 and natural” to consider prosecution for livelihood as the “business” of the prosecutor.

        The Magistrate also contends that the fourth Black’s definition--which extends the

 definition of “business” to noncommercial transactions or matters--is so widely accepted

 that it is an “ordinary and natural” meaning of the word. For example, the Magistrate

 points out that police, prosecutors and judges routinely use the terms “police business,”

 “government business,” and “court business” to refer to work routinely performed in

 investigating, litigating and adjudicating criminal cases.

        The Magistrate asserts that case law also supports a broad interpretation.

 Specifically, the Second Circuit in United States v Bonito, 57 F.3d 167 (2nd Cir. 1995),

 broadly interpreted the term “business” as it is used in §666, albeit in a different context:

           “Business ,” broadly defined includes “work,” “professional dealings,”
           “one’s proper concern,” and “serious work or endeavor that pertains
           to one’s job.”


 57 F.3d at 172 (quoting American Heritage Dictionary 180 (1973)). The Magistrate

 notes that the Bonito Court ultimately limited its definition of the term to “the dealings of

 a government official in connection with a discrete transaction,” while also finding that

                                               7
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1200 Filed 07/25/06 Page 8 of 26




 “transaction” implies a concluded business agreement. Id at 173 (citing American

 Heritage Dictionary 1362 (1973)). The Bonito Court also left open the question of the

 reach of §666 when corrupted business does not directly implicate an organization’s

 federal funds or financial interests.

        Nevertheless, the Magistrate asserts that, the breadth of §666 is similarly

 demonstrated in Salinas v United States, 522 U.S. 52 (1997), and Sabri v United States,

 541 U.S. 600 (2004). Defendant contends that in both of these cases, there was a

 commercial element to the conduct underlying the bribe. In Salinas, for instance, prison

 officials allowed prohibited contact visits to occur in prison facilities in which the federal

 government issued grants for improvement and paid the county a certain amount per

 day for each federal prisoner housed.

        In Sabri, the defendant paid bribes to city officials so that he could have meetings

 with individuals who would facilitate his desire to get federal funding for economic

 development in the city.

        At issue in both cases was whether there was a sufficient nexus between the

 federal funds and the alleged bribes--a challenge not made by this Defendant. Rather,

 Defendant here contends that §666 is not intended to pertain to noncommercial

 transactions such as criminal prosecutions.

        The Magistrate Judge concedes that neither Court addresses the noncommercial

 nature of the offense conduct. Nonetheless, he concludes that the lack of such

 discussion does not undermine the Government’s position that noncommercial conduct

 may support prosecution under §666.

                                                8
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1201 Filed 07/25/06 Page 9 of 26




        Defendant contends that the Magistrate’s reliance upon Salinas, Sabri and

 Bonito is misplaced. He argues that none of those cases addresses the issue he

 raises: that noncommercial transactions are not within §666's reach.

        Second, Defendant asserts that the Magistrate failed to address the issue of

 federalism that he raised. That is, he argues that bribery of a state official is usually

 prosecuted by the state, and federal jurisdiction is only extended to such acts when

 there is a federal nexus which, per Defendant, must be commercial in nature.

 Therefore, Defendant argues that applying §666 to his alleged acts “contravenes ‘the

 ordinary rule of statutory construction that if Congress intends to alter the usual

 constitutional balance between the States and the Federal Government, it must make

 its intention to do so ‘unmistakably clear in the language of the statute.’” Def. Obj. br. at

 p. 3 (quoting Will v Michigan Dep’t of State Police, 491 U.S. 58, 65 (1989))(internal

 quotation marks omitted).

        The Court finds that Defendant has not supported his argument that the drafters

 of §666 only intended it to apply to “business” or “transactions” that are commercial in

 nature. Defendant has not persuasively shown that the statute, the legislative history or

 case law dictates such a narrow interpretation. Indeed, the Black’s Law Dictionary

 definition of “business” cited by Defendant in his brief includes transactions of a

 noncommercial nature and, ironically, refers to “a court’s criminal business” as an

 example. Defendant cites no authority for his assertion that this extended definition

 should be disregarded as outside the “ordinary and natural” meaning of the term.

        Additionally, it is not disputed that Defendant was employed by Macomb County


                                               9
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1202 Filed 07/25/06 Page 10 of 26




 to prosecute criminal cases and that he was paid a salary for his services. Therefore,

 the Court agrees with the Magistrate that Defendant’s prosecution of cases is plainly

 within the Black’s Law Dictionary definition of “business” as “a particular occupation or

 employment habitually engaged in for livelihood or gain.”

        Finally, the legislative history Defendant cites does not directly or impliedly

 suggest the limitation Defendant advocates. Furthermore, although not at issue in

 Salinas, an argument can be made that there was a noncommercial element to the

 activities of the Salinas defendant. He was charged with abusing his authority by giving

 one inmate more privileges than was allowed other inmates, in exchange for gain to

 himself. Similarly, Defendant here is accused of abusing/using his authority to intervene

 on behalf of defendants in criminal prosecutions, for gain to himself. There is no

 apparent commercial aspect to either act.

        For all of these reasons, the Court adopts the Magistrate’s recommendation to

 deny Defendant’s motion on this ground.

               ii.    Valuation

        In Counts I and III of the Second Superceding Indictment, the Government refers

 to the criminal prosecutions in People v Moldowan and People v Hulet, respectively, as

 “a thing of value of $5,000 or more,” in accordance with the requirements of

 §666(a)(1)(B). See Second Superceding Indictment at Count I, ¶3; Count III, ¶3.

 Defendant asserts, however, that Counts I and III must be dismissed because there is

 no valid way to place a monetary value on criminal prosecutions.

        In support, Defendant cites United States v McCormack, 31 F.Supp.2d 176 (D.

                                              10
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1203 Filed 07/25/06 Page 11 of 26




 Mass. 1998), and United States v Frega, 933 F.Supp. 1536 (S.D. Cal. 1996). In

 McCormack, the defendant was indicted under §666 for allegedly paying a state police

 officer $4,000 to forego investigations of the defendant for various state offenses.

 Defendant moved for dismissal, arguing that the statutory requirements of §666 were

 not met in various respects, including the requirement that the thing of value be at least

 $5,000. The Court found that §666 is ambiguous on how to measure value and from

 what perspective, especially where the benefit conferred is intangible and unrelated to

 federal funds.

        Importantly, however, the Court noted that one accepted measure is the value to

 the alleged briber. The Court went on to find that this measure was of no benefit to the

 government because the defendant only allegedly paid $4,000. And, the Court rejected

 as speculative the government’s other proposed measures.1 Among other defects, the

 Court ultimately found that the indictment failed to meet the $5,000 minimum and

 dismissed the indictment.

        Here, Defendant argues that the Government is foreclosed from using the

 method recognized in McCormack--the value to the alleged briber--because the

 Government does not allege that method of valuation in the Indictment. Rather,

 Defendant asserts that the Government refers only to the criminal prosecutions

 themselves as the “thing of value” worth $5,000 or more.


        1
         The McCormack government’s proposed measures included: a combination of
 defendant’s lost wages and the value of being able to continue to live with his fiancee
 and daughter, if his bail were revoked; the salary of the state police officers defendant
 was attempting to corrupt, and; the value to the public of insuring that police functions
 are not corrupted and that defendant complied with bail conditions.

                                             11
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1204 Filed 07/25/06 Page 12 of 26




        In Frega, two judges and an attorney were indicted under §666. Over 12 years,

 the judges allegedly accepted lavish gifts from the attorney in exchange for favorable

 treatment in cases for which he was counsel of record and over which they presided.

 Defendants moved to dismiss the §666 charge, arguing that the statute was not

 intended to reach their alleged conduct. In its interpretation of the statute to determine

 its scope, the Court found that the indictment failed to allege that the cases over which

 the judges presided were valued at $5,000 or more. The government alleged that over

 $100,000 in bribes were paid to influence the judges in state cases. However, the Court

 found it troubling that the government failed to indicate how it intended to value the

 cases over which the judges presided. The Court acknowledged three ways that the

 cases could be valued, including the value of each case to the attorney. Nevertheless,

 it found that the statute was unclear regarding whether it applied to defendants’

 conduct. The Court then analyzed the legislative history of the statute and ultimately

 held that §666 did not apply because federal funds were not implicated by defendants’

 alleged conduct.

        Defendant acknowledges that the lack of clarity regarding how the government in

 Frega was going to value the cases was not the ultimate ground upon which the charge

 was dismissed.2 Nevertheless, Defendant contends that with both Frega and

 McCormack, “[c]entral to the logic of those decisions was the conclusion . . . that the

 monetary valuation of noncommercial official acts is simply an unworkable task.” Def.


        2
         Notably, the Frega Court’s dismissal because the government failed to establish
 that federal funds were directly implicated was subsequently abrogated by the Supreme
 Court’s ruling in Sabri v United States, supra.

                                             12
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1205 Filed 07/25/06 Page 13 of 26




 Obj. br. at p. 3.

        The Magistrate recommends that the Court reject Defendant’s arguments.

 Simply stated, the Magistrate finds that McCormack and Frega are inopposite, and that

 the Government adequately alleges that: 1) the “business” in each case was the

 criminal prosecution; 2) the “transactions” were the specific acts of Defendant in each

 case in exchange for contributions and fundraising efforts; and 3) the business and/or

 transactions were valued at $5,000 or more. The Magistrate notes that whether the

 Government can establish the statutory threshold at trial is yet to be determined. But,

 the Magistrate asserts that an allegedly corrupt act in the prosecution of a lawsuit, like

 other intangibles, is subject to valuation by, for example, considering the amount paid

 for the corrupt act. The Court agrees.

        Neither McCormack nor Frega supports Defendant’s assertion that his alleged

 acts in Moldowan and Hulet are incapable of valuation. In fact, both note that one

 accepted measure of intangible benefits conferred is the value to the briber, a

 proposition with which Defendant does not disagree.

        Also, Defendant inaccurately asserts that the Second Superceding Indictment

 only refers to the criminal prosecutions themselves as being valued at $5,000 or more,

 as opposed to the value to those offering the bribe. A fair reading of the Indictment,

 however, is not so limited. In Count I, the Government states:

           Defendant Marlinga corruptly solicited, accepted, and agreed to
           accept such contributions and fundraising efforts intending to be
           influence and rewarded in connection with any business, transaction
           or series of transactions of the Macomb County Prosecutor’s office
           involving a thing of value of $5,000 or more, specifically the

                                              13
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1206 Filed 07/25/06 Page 14 of 26




             criminal case of People v Moldowan, in that (A) Defendant
             Marlinga was motivated by the contributions and promises of
             fundraising efforts to draft and file the Michigan Supreme Court
             a supplemental pleading . . . and (B) Defendant Marlinga corruptly
             accepted and agreed to accept such contributions intending to be
             rewarded in connection with the filing of the Motion.


 Second Superceding Indictment at Count I, ¶3 (emphasis added). Count III regarding

 People v Hulet is worded in substantially the same manner. Id at Count III, ¶3.

        When read in its entirety, one cannot conclude that the Indictment simply says

 that the thing of value was the criminal prosecutions. In fact, the Government asserts

 that the criminal prosecution was valued at $5,000 or more “in that” (or because)

 Defendant was motivated to act in exchange for promised contributions and fundraising

 efforts. Therefore, the amount offered to Defendant in the form of contributions and

 fundraising efforts would represent the value of Defendant’s alleged acts to those

 offering the bribes. McCormack and Frega recognized this as a valid measure of value

 for purposes of §666, and there is no basis for the Court to find as a matter of law that

 the Government cannot meet its burden. In fact, at the hearing held, the Government

 pointed out that it can prove that in excess of $5,000 was received by, or promised to

 Defendant, in support of the charges in both Counts.

        For all of these reasons, the Court adopts the Magistrate’s recommendation to

 deny Defendant’s motion to dismiss Counts I and III.

        B.      COUNT II--MAIL FRAUD IN VIOLATION OF §18 U.S.C. 1341

        18 U.S.C. §1341 applies to those who utilize the mail to carry out fraud and

 states in relevant part:


                                             14
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1207 Filed 07/25/06 Page 15 of 26




          Whoever, having devised or intending to devise any scheme or
          artifice to defraud, or for obtaining money or property by means of
          false or fraudulent pretenses, representations, or promises, . . . for
          the purpose of executing such scheme or artifice or attempting so to
          do, places in any post office or authorized depository for mail matter,
          any matter or thing whatever to be sent or delivered by the Postal
          Service, . . . shall be fined not more than $1,000,000 or imprisoned
          not more than 30 years, or both.


 (emphasis added). A “scheme or artifice to defraud” is “a scheme or artifice to deprive

 another of the intangible right of honest services.” 18 U.S.C. §1346.

       The Government alleges that Defendant violated §§1341 and 1346 by making

 false or misleading statements in his supplemental pleading to the Michigan Supreme

 Court in People v Moldowan. Specifically, Defendant implied in his appellate brief that

 there were later-discovered alibi witnesses who could no longer be found, in part

 because it was the nature of the witnesses at issue to use fake names. But, per the

 Government, there were no such witnesses, and no witness (alibi or otherwise) used a

 fake name. The Government alleges that Defendant’s allegedly false and/or misleading

 statements violated his obligation under the Michigan Rules of Professional Conduct not

 to make false statements to a court:

          Rule 3.3 Candor Toward the Tribunal


          (a) A lawyer shall not knowingly:

          (1) make a false statement of fact or law to a tribunal or fail to correct
          a false statement of material fact or law previously made to the
          tribunal by the lawyer


 MRPC 3.3(a)(1). The Government alleges in the Indictment that Defendant “knowingly



                                              15
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1208 Filed 07/25/06 Page 16 of 26




 and willfully devised and intended to devise a scheme to defraud the Michigan Supreme

 Court and the citizens of Macomb County of their right to his honest services.” Second

 Superceding Indictment at Count II, ¶6.

        Defendant asserts that the allegations in Count II fail on one of two alternate

 grounds: 1) that the Michigan Rules of Professional Conduct governing attorney ethics

 do not create the kind of duty for “honest services” that can be prosecuted under §1346,

 and 2) even if a violation of the MRPC can be the predicate of a §1341 charge, his

 alleged misstatements are not sufficiently material to support the charge. The

 Magistrate recommends that the Court agree in part with the first argument, but reject

 the second in its entirety.

        Defendant argues that the rights of citizens to “honest services” as used in §1346

 is limited to the rights and duties imposed by state law. See United States v Brumley,

 116 F.3d 728, 734 (5th Cir. 1978)(“We decide today that services must be owed under

 state law and that the government must prove in a federal prosecution that they were in

 fact not delivered.”). In this case, however, the Government bases its claim on

 Defendant’s alleged violation of his ethical obligation under the MRPC. The

 Government admits these rules do not have the force of law. Therefore, Defendant

 contends that the Government has not alleged a viable charge of mail fraud.

        Defendant further asserts that his alleged obligation to be candid with courts is

 not a “service” within the meaning of §1346. Defendant argues that, under our

 adversary system, attorneys do not perform “services” for the courts before which they

 appear, only for their clients. That is, Defendant asserts that attorneys only have duties


                                             16
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1209 Filed 07/25/06 Page 17 of 26




 to the court, one of which is set forth in MRPC 3.3(a)(1), which they must fulfill when

 they appear before courts to perform services on behalf of clients.

        The Magistrate does not directly address Defendant’s first argument, but agrees

 with the second: “I agree with Defendant that the concepts of ‘duty’ and ‘services’ are

 separate and distinct, and that the right to honest services connotes more than a duty.

 It requires a master-servant or agent-principal relationship which does not exist between

 a court and the attorney who practice before it.” R&R at p. 25. Therefore, the

 Magistrate finds that “the Government’s prosecution theory against this Defendant

 under 18 U.S.C. §§1341 and 1346 for violation of the Michigan Supreme Court’s right to

 his honest services is insufficient in law. . . . Further, I conclude that the language of the

 Indictment suggesting that the Michigan Supreme Court had a right to Defendant’s

 honest services is prejudicial, as it tends to vilify Defendant by the assertion of the

 violation of a right to services that does not exist.” Id at p. 28.

        But, the Magistrate contends that it is without question that Defendant owed a

 duty of honest services to Macomb County and Michigan citizens. He asserts that

 MRPC 3.3 shows that a duty of honesty is among the duties owed, and that the

 Government adequately alleges violation of the mail fraud statute. Therefore, the

 Magistrate asserts that, if all reference to the Michigan Supreme Court is excised from

 paragraphs 3, 6 and 8 of Count II, the Government can proceed on its claim that

 Defendant deprived the citizens of Macomb County of his honest services. The

 Magistrate contends that the proposed redaction of the indictment would not be an

 unconstitutional amendment of the Indictment, because the language redacted is mere


                                               17
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1210 Filed 07/25/06 Page 18 of 26




 surplusage that is not necessary for jurors to find that Defendant deprived Macomb

 County citizens of his honest services.

        Defendant asserts that the proposed redaction of one of the Government’s

 theories of culpability is insufficient to correct the defect in the Indictment, because both

 theories are based on the same improper premise--that a charge of mail fraud under

 §1346 can be based on a violation of MRPC 3.3(a)(1), rather than a state law.

 Therefore, Defendant argues that, even as amended, the Indictment does not state a

 cognizable charge.

        There is support for Defendant’s position. It does not appear that the Sixth

 Circuit has addressed the issue of whether a mail fraud charge must be based upon a

 violation of state law. However, at least two circuits have directly addressed the issue

 and take the position Defendant advocates.

        In United States v Brumley, supra, the Fifth Circuit defendant was the Regional

 Associate Director of the Texas Workers’ Compensation Commission. His duties

 brought him in contact with attorneys pursuing claims on behalf of workers’

 compensation claimants. Despite his position, he solicited loans from lawyers

 representing claimants as well as assistance in obtaining loans from lending institutions.

 Defendant was convicted in a bench trial of, inter alia, conspiring to defraud the citizens

 of Texas of honest services by use of mail and wire.

        Defendant appealed his convictions, arguing that the “honest services” statute

 did not apply to state employees who commit ethical or misdemeanor violations. The

 Brumley Court, therefore, analyzed the relationship between the federal statute and

                                              18
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1211 Filed 07/25/06 Page 19 of 26




 state law. The Court found that the statute dictates that an “honest services” charge

 must be based upon a Defendant’s violation of a state-law duty:

           Under the most natural reading of the statute, a federal prosecutor
           must prove that conduct of a state official breached a duty respecting
           the provision of services owed to the official's employer under state
           law. Stated directly, the official must act or fail to act contrary to the
           requirements of his job under state law. This means that if the official
           does all that is required under state law, alleging that the services
           were not otherwise done “honestly” does not charge a violation of the
           mail fraud statute. The statute contemplates that there must first be a
           breach of a state-owed duty.


 116 F.3d at 734.3 Because Brumley’s conduct violated Texas criminal law, his

 convictions were affirmed.

       Similarly, in United States v Panarella, 277 F.3d 678 (3rd Cir. 2002), the

 defendant was convicted as an accessory after-the-fact to a wire fraud scheme by a

 state senator to deprive the public of his (the senator’s) honest services. Defendant

 operated a tax collection business that entered contracts with state and local

 government bodies to collect taxes owed to them under state and local tax law.

 Defendant hired the senator as a consultant and paid him consulting fees. Without

 disclosing his relationship to defendant, the senator subsequently supported

 defendant’s efforts to obtain contracts and voted against legislation that would have

 been harmful to defendant.

       Defendant appealed his conviction arguing that the government did not allege an

 “honest services” violation by the senator, because it did not allege that Defendant’s


       3
         The Court declined to reach the question of whether the breach of duty must
 violate criminal state law.

                                              19
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1212 Filed 07/25/06 Page 20 of 26




 payments were bribes or that the senator was improperly influenced. The Court

 rejected defendant’s arguments and held that “where a public official takes discretionary

 action that the official knows will directly benefit a financial interest that the official has

 concealed in violation of a state criminal law, that official has deprived the public of his

 honest services under 18 U.S.C. §1346.” 277 F.3d at 691.

        The Government relies on several cases that are inopposite. United States v

 Frost, 125 F.3d 346 (6th Cir. 1997), did not involve public officials. In United States v

 Mack, 159 F.3d 208 (6th Cir. 1998), there was a clear violation of Ohio law that formed

 the predicate for the charge.

        While the Court in Panarella declined to reach the question of whether a violation

 of state law is always necessary, it reasoned that the use of state law to define the

 parameters of honest services fraud best addresses federalism concerns:

           We are mindful that the prosecution of state public officials for honest
           services fraud raises federalism concerns about the appropriateness
           of the federal government's interference with the operation of state
           and local governments.
                                               ***
           In our view, use of state law as a limiting principle defining the scope
           of honest services fraud in close cases better addresses these
           federalism concerns than does the limiting principle of misuse of
           office for personal gain, which Panarella urges upon us.

           In this case, the intrusion into state autonomy is significantly muted,
           since the conduct that amounts to honest services fraud is conduct
           that the state itself has chosen to criminalize.


 Id at 693. The Court found that the facts alleged in the Information established that the

 senator clearly violated Pennsylvania state common and criminal law. Id at 696.


                                                20
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1213 Filed 07/25/06 Page 21 of 26




 Therefore, defendant’s conviction was affirmed.

        The Third Circuit went further in United States v Murphy, 323 F.3d 102, 115

 (2003). The Murphy Court held that the government must prove not only a violation of

 state law, but violation of a state law which creates a duty between the public official

 and the public. The Murphy defendant was the Chairman of the Republican Party in

 Passaic County, New Jersey. He was convicted on, inter alia, three counts of mail fraud

 for organizing a contract-for-payment scheme using his influence over Passaic County

 officials to procure contracts for a medical services company. In turn, the medical

 services company siphoned a portion of the money it received from the contracts to four

 people chosen by defendant, but who performed no services for the payments.

        One of three theories the government asserted was that defendant deprived the

 County of its right to his honest services by not informing County officials about the

 fraudulent nature of the contract-for-payment scheme. Defendant appealed his

 conviction under this theory on the ground that the district court allowed the jury to

 consider the claim absent proof of a legal duty created by state law. Although it did not

 allege as much in the Indictment, the government asserted on appeal that the state

 bribery statute was the predicate state law that created defendant’s fiduciary obligation

 to disclose material information to Passaic County.

        The Murphy Court rejected the government’s argument because the state bribery

 statute did not explicitly require party officials to disclose information to the government;

 it only prohibited solicitation or acceptance of bribes. The Court asserted that, unless

 the state law violated created a fiduciary duty between the official and the public, any


                                              21
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1214 Filed 07/25/06 Page 22 of 26




 criminal act could form the basis of a mail fraud conviction:

           Reading the New Jersey Bribery Act as the Government does would
           require us to find not merely a duty owed in that statute, but also the
           predicate for a fiduciary relationship between a county political
           chairman and the public. We cannot endorse this methodology
           because all criminal activity would breach a duty to the public not to
           break the law that could then form the basis of a mail fraud
           conviction. This outcome would, of course, run counter to the
           federalism concerns we expressed in Panarella about the potentially
           limitless application of §1346. While we recognize that the New
           Jersey Bribery Act properly restricts the conduct of party officials,
           probably in recognition of their influential political position, we cannot
           read it as creating a fiduciary or other legal relationship to the public.


 323 F.3d at 117.

        Brumley, Panarella and Murphy are persuasive authority that mail fraud claims

 must be rooted in state law. However, the Magistrate glossed over the issue by simply

 asserting that the Government “properly cited numerous cases enunciating the principle

 that a prosecuting attorney owes professional, fiduciary and ethical duties to the people

 he serves, both the innocent and the guilty.” R&R at p. 26. The Magistrate does not

 indicate the cases to which he is referring. But, it appears that he is referring to a

 number of state law cases the Government cites in support of its apparent assertion that

 state common law imposes a duty of honesty on prosecuting attorneys. See People v

 Carr, 64 Mich. 702 (1887); People v Moyer, 77 Mich. 571 (1889); People v Bussey, 82

 Mich. 49 (1890); Engle v Chipman, 51 Mich. 524 (1883); and, People v Monroe, 189

 Mich. App. 315 (1991). In each of those cases, the prosecutor was found to have used

 illegal or unethical tactics in trial, and the courts each admonished the behavior and

 reiterated the prosecutor’s obligation to refrain from it. None of the courts’ assertions in



                                               22
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1215 Filed 07/25/06 Page 23 of 26




 this regard, however, were central to the courts’ rulings regarding the effect of the

 prosecutor’s behavior on the defendant’s right to a fair trial. In fact, the language the

 Government relies upon reads in each case like editorial comments rather than

 pronouncements of common law.

        Consequently, the cases cited by the Government do not persuasively establish

 that Michigan recognizes an actionable common law duty of honesty by prosecutors (or

 attorneys in general). Moreover, if the Court were to accept the Government’s assertion

 that a prosecuting attorney’s general duty of honesty is sufficient to bring him or her

 within the bounds of §§1341 and 1346, countless Michigan lawyers (including those

 working in other capacities that involve an element of public service) would be subject to

 prosecution for conduct which the State of Michigan has not clearly indicated an intent

 to criminalize or impose civil liability.

        For these reasons, the Court finds that Count II must be dismissed. It is

 unnecessary to address other issues raised in Defendant’s objections (i.e., redaction,

 materiality).

        C.       COUNT IV--WIRE FRAUD IN VIOLATION OF §18 U.S.C. 1343

        Similar to mail fraud, 18 U.S.C. §1343 prohibits the use of interstate wires for any

 “scheme or artifice to defraud, or for obtaining money or property by means of false or

 fraudulent pretenses, representations, or promises[.]” In Count IV, in connection with his

 alleged attempt to further the personal interests of the attorneys and criminal defendant

 in People v Hulet, Defendant is alleged to have violated §1343. The Government

 specifically alleges that Defendant transmitted, and caused to be transmitted, by means

                                              23
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1216 Filed 07/25/06 Page 24 of 26




 of wire in interstate commerce, a Federal Election Commission Report form which

 concealed the fact that one of Hulet’s attorneys donated $4,000.

        One essential element of a wire fraud claim is that it be “in furtherance of” the

 scheme to defraud. United States v Hartsel, 199 F.3d 812, 816 (6th Cir. 1999).4

 Defendant asserts that dismissal of this claim is required because, at the time of the

 transmission, he had already received and reported contributions from the attorney at

 issue. Therefore, he says that the transmission cannot fairly be said to have been “in

 furtherance of” the alleged scheme, but rather was merely incidental.

        The Magistrate points out that the Government clearly alleges that Defendant

 concealed the true identity of the donor because the $4,000 donation at issue exceeded

 the amount individual donors are permitted to give under federal law. And, it is settled

 that a wire transmission can be deemed “in furtherance of “a scheme if the scheme’s

 completion or the prevention of detection depended in some way on the transmission.

 Hartsel, 199 F.3d at 816. Since the Government clearly alleges that the transmission at

 issue was made to prevent detection of Defendant’s evasion of federal campaign

 contribution limitations, the Magistrate found that the Government alleged a viable claim

 in Count IV.

        In objection, Defendant simply restates the arguments asserted in his Motion.

 The Court rejects his assertions for the reasons stated by the Magistrate. Defendant’s

 argument lacks merit in that it completely ignores the explicit theory asserted by the


        4
         Hartsel actually involved a claim of mail fraud. But, except for the difference in
 the medium used to carry out the scheme, the same proofs are required for mail and
 wire fraud charges. United States v Griffith, 17 F.3d 865, 874 (6th Cir. 1994).

                                              24
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1217 Filed 07/25/06 Page 25 of 26




 Government. The Court adopts the Magistrate’s recommendation that the Court deny

 Defendant’s motion to dismiss Count IV.

        D.     COUNTS V AND VI--FALSE STATEMENT IN VIOLATION OF 18 U.S.C.
               2, 1006


        Per Defendant, Counts V and VI of the Second Superceding Indictment are

 essentially identical to Counts V and VIII of the original Indictment. In a prior Motion to

 Dismiss, Defendant argued that the charges should be dismissed because the

 contributions referred to therein were not “conduit” contributions within the meaning of

 the Federal Election Campaign Act of 1971. The Court denied Defendant’s motion.

 See Opinion and Order Regarding Motions to Dismiss, February 28, 2005. Defendant

 moves for dismissal a second time on the same grounds, but does so solely to preserve

 the issue, incorporating by reference the arguments previously made.

        As the Magistrate recommends, the Court denies Defendant’s motion to dismiss

 Counts V and VI for the reasons already stated in the Court’s February 28, 2005 Order

 denying Defendant’s motion to dismiss Counts V and VIII of the original Indictment.

 V.     CONCLUSION

        The Court declines to adopt the Magistrate’s recommendation with regard to

 Count II, but does adopt the recommendation with regard to the remaining Counts (I, III-

 VI).




                                              25
Case 2:04-cr-80372-VAR-DAS ECF No. 138, PageID.1218 Filed 07/25/06 Page 26 of 26




        Trial will proceed on all Counts except Count II, which is dismissed.

        IT IS SO ORDERED.



                                                  S/Victoria A. Roberts
                                                  Victoria A. Roberts
                                                  United States District Judge


 Dated: July 25, 2006


  The undersigned certifies that a copy of this
  document was served on the attorneys of
  record by electronic means or U.S. Mail on
  July 25, 2006.


  S/Carol A. Pinegar
  Deputy Clerk




                                                    26
